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                                                MINUTES




  CASE NUMBER:                1:20-CV-00458-HG-RT

  CASE NAME:                  Jorge Rivera, et al. v. City and County of Honolulu, et al.

  ATTYS FOR PLA:              Eric Seitz
                              Kevin Yolken
                              Jongwook Kim

  ATTYS FOR DEFT:             Donovan Odo
                              Steven Atwell
                              Artie Kendall (pro se)
                              Kirk Uemura (pro se)



        JUDGE:        Rom Trader                        REPORTER:           No Record

        DATE:         01/29/2021                        TIME:               10:00 - 10:55 a.m.
                                                                            11:30 - 2:55 p.m.
                                                        AT&T:               2:55 - 3:10 p.m.



 COURT ACTION: EP: CONFIDENTIAL TELEPHONIC EARLY SETTLEMENT
 CONFERENCE and SETTLEMENT ON RECORD held.

 Plaintiffs, Jorge and Jenna Rivera, participated by telephone.

 Settlement Conference (10:00 - 10:55 a.m., 11:30 - 2:55 p.m.):

 Discussion had.

 Settlement on the Record (2:55 - 3:10 p.m.):

 Court recited the material and essential terms of the settlement.

 Parties, through counsel, confirmed and consented to the settlement terms.

 Settlement terms subject to approval by Honolulu City Council (“Council”).

 Settlement terms to remain confidential until approved by the Council. Defendant City and
 County of Honolulu to file a notice of approval by the Council so that the Court may unseal the
 record and transcript of this proceeding. During the interim, the audio recording and transcript of
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 this hearing shall be sealed. Counsel and the parties, however, shall be permitted access without
 further court order.

 Court finds the essential terms of a valid and binding settlement agreement have been set
 forth.

 Stipulated Dismissal With Prejudice due by 4/29/2021.

 Trial date and all further deadlines and court dates are vacated.

 Confidential Telephone Conference set for 5/18/2021 at 9:30 a.m. before Magistrate
 Judge Trader. Parties and other participants must call-in at least five (5) minutes prior to the
 scheduled start time of the conference/hearing. Call-in instructions are below:

 1. Dial 1-888-363-4735
 2. Enter Access Code 2070326.

 Should the stipulation to dismiss be received prior, the Court will vacate this conference.


 Submitted by: Lian Abernathy, Courtroom Manager
